JS44 (Rey. 06/17) CIVIL COVER SHEET

The £5 44 civil cover sheet and the information contained herein neither replace nor supplement the fiting and service of pleadings or ather papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September (974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

RON HARDNEY, MANUEL PANNGASIRI, and MICHELLE SALWAY ABC FHONES OF NORTH CAROLINA

individually and on behalf of all others similariy situated

(b) County of Residence of First Listed Hainiit Manalapan, New Jersey _ County of Residence of First Listed Defendant _ Raleigh, North Carotina
(EAHA TIN OLN PLAINTIEE CASE (IN US. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

(c), Attorneys fitira Nam, Aikiress, and Pelephune Nuntberj Attorneys (ff Kuown)
Shavitz Law Group; Michael J. Palitz, Esq.
800 3rd Avenue, Suite 2800, New York, New York 10022

Tel: (BOQ) 616-4000

 

 

 

 

 
  

  

 

   

 

    

    

 

 

   

 

          

 

   

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION jiiice ae “Vi One Box Gay) Hl. CITIZENSHIP OF PRINCIPAL PARTIES (tace an 1" 7 One Box for Plaine
(For Diversity Cases Only) and One Box far Defendant)
Oo US. Government A&3  Federat Question PTF DEF PTF DEF
Plain? (US. Government Nora Party Citizen of This State ol 1 Incorporated er Principal Place o4 a4
of Business In This State
O 2 U.S. Goverment 4 Diversiry Citizen of Another State O 2 © 2 incorporated avi Principal Place gs 5
Defendant (adicate Citzensiip of Parties in irene iif of Business In Another State
Citizen ar Subject of a 13 O 3 Foreign Nation O6 O46
Foreign Country
IV. NATURE OF SUIT priace an in Gae Box Cniy) Click here for: Nature of Suit Code Descriptions.
: CONTRACT: Yee : GaN TORTS ooo ee RF ELTURE/PENALPY 2 Pe! BANKRUPTCY:
7 110 Insurance PERSONAL INJURY PERSONAL INJURY = 10) 625 Drug Related Seizure ©] 422 Appeal 28 WSC 158 0 375 False Claims Act
1 120 Marine 77310 Airplane J 365 Personal Injury - of Property 21 USC 881 7 423 Withdrawal 8 376 Qui Tam (3! USC
0 130 Miller Act 0 315 Ainplane Product Product Liability O 690 Other 28 USC 157 372%n))
O 149 Negotiable Instrument Linbility {7 367 Health Cares CJ 400 State Reapportionment
O 150 Recovery of Overgnyinent {320 Assaul, Libel & Pharmaceutical SE PROPEREYRIGHTS:33234 0) 410 Antitrast
& Enforcement of Judginent Slander Personal Injury O 820 Copyrights 0 430 Baaks and Banking
O) 51 Medicare Act 0 330 Federal Employers’ Product Liability OG 830 Potent O 450 Commerce
OF 152 Recovery of Defaulted Liabitity 368 Asbestos Personal 7 835 Potent - Abbreviated QO 460 Deportation
Student Loans D540 Marine injury Product New Drug Applicatian |) 470 Rocketeer Influenced and
(Excludes Veterans) O 345 Marine Product Linbility 0 840 Trademark Corrupt Organizations
153 Recovery of Overpayment Liability PERSONAL PROPERTY [= CA'BOR SS T 21) 480 Consumer Credit
of Veteran's Benefits 0 350 Mator Velicle O 370 Other Fraud 710 Fair Labor Standards O 861 HIA (13951) O 490 Cable/Sat TV
C} 160 Stockholders’ Suits O 355 Motor Vehicle 47? Troih in Lending Act 0 862 Black Lung (923) O 850 Securities/Commaditirs/
O 196 Other Contract Product Liahiliny O 380 Other Personal O 720 Labor/Management 0 $63 DIWC/DIWW (405(2)) Exchange
O 195 Centract Product Liability | 360 Other Personal Prapeny Damage Relations 0 864 $510 Title XVI J 890 Other Statutery Actions
O 196 Franchise Injury CF 385 Property Damage DO 740 Railway Labor Act CO) 865 RSI (405(g)) O 891 Agricultural Acts
0 362 Personal Injury - Product Liability O 751 Family aid Medical © 893 Environmental Matters
Medical Maipractice Leave Act O 895 Freedom of information
i CREAL:PROPERTY: 202 CIVEERIGHTS 225 EE PRISONER PETITIONS =| CF 790 Other Labor Litigation ‘EDERAT TAXSUITS = Act
&F 210 Land Condemontion O 440 Other Civil Rights Habens Corpus: & 791 Employee Retirement G 870 Taxes (U.S. Plaintitf © 896 Arbitration
O 220 Foreclosure O 441 Voting O 463 Alien Detainee Income Security Act or Defendant) OG 899 Administrative Procedure
0 230 Rent Lease & Ejectment OF 442 Employment 510 Motions to Vacate ©) 87) IRS—Third Party Aci/Review or Appeai of
O 240 Tons to Land & 443 Housing? Sentence 26 USC 7609 Agency Decision
0) 243 Tort Product Liability Accommodations &] 530 General C7 950 Canstintianality of
290 All Other Real Property O 445 Amer. w/Disabilities - fC) 544 Death Penalty IMMIGRATION ae State Statutes
Eniployment Other: 0) 462 Naturalization Application
7 446 Amer, w/Disabilities -| 540 Mandamus & Other 2) 465 Other Immigration
Other O 550 Civil Rights Actions
0 448 Education O 554 Prison Condition
560 Civit Detainee -
Conditions of
Confinement
V. ORIGIN (Pace an “X" in Qae Box Oni)
PU) Original £12 Removed from 3  Remanded trom 4 Reinsialedor © 5 Transferred from 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(spect Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (#0 wot cite jurisdictional statutes unless diversity):

29 U S.C. § 201

Brief description of cause:

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN () CHECK IF THIS IS A CLASS ACTION DEMANDS CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv,P. JURY DEMAND; MYes No
VII, RELATEDCASES)
IF ANY See testructions): JUBGE . _ DOCKET NUMBER ee

 

DATE SIGNATURE OLATTORN y OE a
05/20/2019 let f Aa, Pes
hen

FOR OFFICE USE ONLY fy Five j

MurT!_ "Ro 5:20-0y-00076H0"Beoumenti-t Pitt dsreoHe—Page'1 SI
JS 44 Reverse (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by Inw, except as provided by local rujes of court, This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpase of initiating the civil docket sheet, Consequently, # civil cover sheet is submitted ta the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)

(b)

(c)

Ik,

HE.

TV.

Vi

VI.

VUL

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations, Ifthe plaintiff or defendant is an official within a government agency, identify first the agency and
then the offtcial, giving both name and title.

County of Residence, For each civil case filed, except U.S, plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S, plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases. the county of residence of the “defendant” is the location of the tract of land involved.}

Attorneys. Enter the firm name, address, telephone sumber. and attorney of record. If there are several attorneys, list them on an attachment, noting

in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S, plaintiff or defendant code takes

precedence, and box | or 2 should be marked.
Diversity of citizenship. {4) this refers 10 suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the

citizenship of the dilferemt parties must be checked. (See Section IIE below; NOTE: federal question actions take preeedence over diversity

cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an °X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit cade
that is most applicable. Click here for: Nature of Suit Code Descriptions.

 

Origin. Place an °X" in one of the seven boxes.

Original Proceedings. (1} Cases which originate in the United States district caurts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action, Use the date of remand as the filing

date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or

multidistrict litigation transfers.
Multidistrict Litigation — ‘Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.

Section 1407.
Mulltidistrict Litigation ~ Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket,

PLEASE NOTE THAT THERE 18 NOT AN ORIGIN CODE 7. Origin Cade 7 was used for historical records and is no longer relevant due to
changes in simiue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. in this space enter the uctual dollar amount being demanded ar indicate other demand, such as a preliminary injunction.
Jury Demand. Cheek the appropriate box to indicate whether or nota jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, ifany. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

Case 5:20-cv-00076-BO Document 1-1 Filed 05/20/19 Page 2 of 2
